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                             UNITED STATES DISTRICT COURT
                               CASE NO.: 0:19-CV-61272-RAR

 TELISHA J. OLIGE,

         Plaintiff,

 vs.

 CITY OF PLANTATION, and
 JORDAN WOODSIDE, individually and
 in his capacity as a City of Plantation
 Police Officer,

       Defendants.
 __________________________________/

  DEFENDANT, JORDAN WOODSIDE’S, ANSWER AND AFFIRMATIVE DEFENSES
                     TO PLAINTIFF’S COMPLAINT

         Defendant, JORDAN WOODSIDE, by and through undersigned counsel, pursuant to the

 Federal Rules of Civil Procedure and Southern District of Florida Local Rules, hereby files this

 Answer and Affirmative Defenses to Plaintiff’s Complaint, and states:

                                        INTRODUCTION

 1.      Defendant denies the allegations in Paragraph one (1) of Complaint and demands strict

 proof thereof.

 2.      Defendant denies the allegations in Paragraph two (2) of the Complaint and demands

 strict proof thereof.

                                 JURISDICTION AND VENUE

 3.      Defendant admits that jurisdiction is proper.

 4.      Defendant denies the allegations in Paragraph four (4) of the Complaint and demands

 strict proof thereof.
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 5.      Defendant admits only that venue is proper. Defendant denies the remainder of the

 allegations in Paragraph five (5) of the Complaint and demands strict proof thereof.

 6.      Based upon reasonable investigation, the allegations contained in Paragraph six (6) of the

 Complaint are unknown to this Defendant, therefore, they are denied. The Defendant demands

 strict proof thereof.

                                            PARTIES

 7.      Based upon reasonable investigation, the allegations contained in Paragraph seven (7) of

 the Complaint are unknown to this Defendant and are therefore denied. Furthermore, Defendant

 demands strict proof thereof.

 8.      Based upon reasonable investigation, the allegations contained in Paragraph eight (8) of

 the Complaint are unknown to this Defendant and are therefore denied. Furthermore, Defendant

 demands strict proof thereof.

 9.      Defendant admits the allegations in Paragraph nine (9) of the Complaint.

 10.     Defendant denies the allegations in Paragraph ten (10) of the Complaint and demands

 strict proof thereof.

                         BACKGROUND AND GENERAL ALLEGATIONS

 11.     Defendant denies the allegations in Paragraph eleven (11) of the Complaint and demands

 strict proof thereof.

 12.     Defendant denies the allegations in Paragraph twelve (12) of the Complaint and demands

 strict proof thereof.

 13.     Defendant denies the allegations in Paragraph thirteen (13) of the Complaint and

 demands strict proof thereof.
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 14.     Defendant denies the allegations in Paragraph fourteen (14) of the Complaint and

 demands strict proof thereof.

 15.     Defendant denies the allegations in Paragraph fifteen (15) of the Complaint and demands

 strict proof thereof.

 16.     Defendant denies the allegations in Paragraph sixteen (16) of the Complaint and demands

 strict proof thereof.

 17.     Defendant denies the allegations in Paragraph seventeen (17) of the Complaint and

 demands strict proof thereof.

 18.     Defendant denies the allegations in Paragraph eighteen (18) of the Complaint and

 demands strict proof thereof.

 19.     Defendant denies the allegations in Paragraph nineteen (19) of the Complaint and

 demands strict proof thereof.

 20.     Defendant denies the allegations in Paragraph twenty (20) of the Complaint and demands

 strict proof thereof.

 21.     Defendant denies the allegations in Paragraph twenty-one (21) of the Complaint and

 demands strict proof thereof.

 22.     Defendant denies the allegations in Paragraph twenty-two (22) of the Complaint and

 demands strict proof thereof.

                                        COUNT I
                         FOURTH AMENDMENT – 42 U.S.C. § 1983
                           (Ms. Olige against Officer Woodside)

 23.     Defendant re-alleges and re-affirms each and every response to Paragraphs one (1)

 through twenty-two (22) of the Complaint. Defendant denies each and every allegation to the
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 extent not previously admitted and demands strict proof thereof. Furthermore, Defendant denies

 any wrongdoing complained of herein.

 24.     Defendant denies the allegations in Paragraph twenty-four (24) of the Complaint and

 demands strict proof thereof.

 25.     Defendant denies the allegations in Paragraph twenty-five (25) of the Complaint and

 demands strict proof thereof.

 26.     Defendant denies the allegations in Paragraph twenty-six (26) of the Complaint and

 demands strict proof thereof.

 27.     Defendant denies the allegations in Paragraph twenty-seven (27) of the Complaint and

 demands strict proof thereof.

 28.     Defendant denies the allegations in Paragraph twenty-eight (28) of the Complaint and

 demands strict proof thereof.

 29.     Defendant denies the allegations in Paragraph twenty-nine (29) of the Complaint and

 demands strict proof thereof.

 30.     Defendant denies the allegations in Paragraph thirty (30) of the Complaint and demands

 strict proof thereof.

 31.     Defendant denies the allegations in Paragraph thirty-one (31) of the Complaint and

 demands strict proof thereof.

 32.     Defendant denies the allegations in Paragraph thirty-two (32) of the Complaint and

 demands strict proof thereof.

 33.     Defendant denies the allegations in Paragraph thirty-three (33) of the Complaint and

 demands strict proof thereof.
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 34.     Defendant denies the allegations in Paragraph thirty-four (34) of the Complaint and

 demands strict proof thereof.

 35.     Defendant denies the allegations in Paragraph thirty-five (35) of the Complaint and

 demands strict proof thereof.

                                              COUNT II
                                           State Law Torts
                                 (Ms. Olige against Officer Woodside)

 36.     Defendant re-alleges and re-affirms each and every response to Paragraphs one (1)

 through twenty-two (22) of the Complaint that the Plaintiff incorporates in Paragarph 36 unmder

 the caption “Count II – State Law Tort (Ms. Olige against Officer Woodside). The defendant

 denies each and every allegation to the extent not previously admitted and demands strict proof

 thereof.

 37.     Defendant denies the allegations in Paragraph thirty-seven (37) of the Complaint and

 demands strict proof thereof.

 38.     Defendant denies the allegations in Paragraph thirty-eight (38) of the Complaint and

 demands strict proof thereof.

 39.     Defendant denies the allegations in Paragraph thirty-nine (39) of the Complaint and

 demands strict proof thereof.

 40.     Defendant denies the allegations in Paragraph forty (40) of the Complaint and demands

 strict proof thereof.

 41.     Defendant denies the allegations in Paragraph forty-one (41) of the Complaint and

 demands strict proof thereof.

 42.     Defendant denies the allegations in Paragraph forty-two (42) of the Complaint and

 demands strict proof thereof.
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 43.    Defendant denies the allegations in Paragraph forty-three (43) of the Complaint and

 demands strict proof thereof.

                                           COUNT III
                                         State Law Torts
                                   (Ms. Olige against The City)

 44-49. The allegations contained in Count III of the Complaint are not directed toward this

 Defendant. Therefore, no response is required. However, to the extent these allegations may be

 construed against Defendant Woodside, Defendant denies the allegations in Paragraphs forty-

 four (44) through forty-nine (49) of the Complaint and demands strict proof thereof.

                                       GENERAL DENIAL

        Defendant denies each and every allegation of Plaintiff’s Complaint to the extent not

 previously admitted and demands strict proof thereof.

                                   AFFIRMATIVE DEFENSES

                                     First Affirmative Defense

        As a first affirmative defense, the Defendant asserts that he is entitled to all the rights,

 privileges, and immunities, including limits on liability, sovereign immunity limits, and

 attorney’s fees, through provisions set forth in § 768.28, Florida Statutes.

                                    Second Affirmative Defense

        As a second affirmative defense, the Defendant asserts that he is entitled to a setoff of all

 payments paid or payable by all collateral sources for all expenses, bills, or other obligations

 incurred as a result of the incident alleged in the Complaint, in accordance with Florida Statutes.

                                     Third Affirmative Defense

        As a third affirmative defense, the Defendant asserts that he did not act in bad faith, with

 malicious purpose, or in a manner exhibiting wanton and willful disregard for human rights,
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 safety, or property with regard to the incident at issue.

                                     Fourth Affirmative Defense

         As a fourth affirmative defense, Defendant asserts that any physical contact with Plaintiff

 was for legitimate law enforcement purposes and any force or contact was reasonable under the

 circumstances to ensure officer safety.

                                      Fifth Affirmative Defense

         As a fifth affirmative defense, Defendant asserts that Plaintiff’s own conduct was the sole

 and proximate legal cause of any and all damages allegedly incurred by Plaintiff. Defendant did

 not commit any act which was the legal, direct, or proximate cause of the damages related to

 Plaintiff.

                                      Sixth Affirmative Defense

         As a sixth affirmative defense, Defendant asserts that Plaintiff was in fact guilty of the

 offense charges, notwithstanding any favorable termination of any underlying proceedings.

                                    Seventh Affirmative Defense

         As a seventh affirmative defense, Defendant asserts that the arrest and/or detention of the

 Plaintiff was based upon probable cause and/or arguable probable cause. Moreover, the

 Defendant had a reasonable basis and/or had probable cause to arrest or detain the Plaintiff based

 on the Defendant’s knowledge and observations at the time of the incident alleged.

                                     Eighth Affirmative Defense

         As an eighth affirmative defense, the Defendant asserts that qualified immunity applies.

 The Defendant states that his actions were reasonable, proper, legal, and taken pursuant to state

 law and the United States Constitution. Furthermore, the acts complained of occurred within the

 scope of the Defendant’s official duties, and the Defendant had no knowledge that said acts were
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 illegal or unconstitutional nor did said acts clearly violate Plaintiff’s rights at the time they were

 committed.

                                     Ninth Affirmative Defense

        As a ninth affirmative defense, Defendant asserts that the Complaint fails to state a cause

 of action upon which relief may be granted.

                                          JURY DEMAND

        Defendant demands a trial by jury on all issues so triable.


        I HEREBY CERTIFY that on this 25th day of June, 2019, I electronically filed the
 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
 document is being served this day on all counsel of record or pro se parties identified on the
 attached Service List in the manner specified, either via transmission of Notices of Electronic
 Filing generated by CM/ECF or in some other authorized manner for those counsel or parties
 who are not authorized to receive electronically Notices of Electronic Filing.

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                                                BY __/s/ Oscar E. Marrero_____________
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